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GUILTY PLEA FELONY CRIMINAL INFORMATION:

 

 

 

 

 

 

 

Time Set: lOc a.m. Date: June 2k , 2020
Started: lO'OOD AY Presiding Judge: Lhwrence R. Leonard
Ended: Wo:33 Quy) Courtroom Deputy: eh SVU IV ee
Reporter patience
U.S. Attorney: Alan Salsbury, AUSA
Defense Counsel: George Yates
(x) Retained( ) Court appointed ( ) AFPD
Interpreter:

 

U.S. Probation Officer: Joan (S cant

Case Number: = 2:20cr20
USA v Tonya Saxby ( ) in custody ( )on bond

 

 

 

(X) Initial Appearance on Criminal Information
(¥) Consent to Proceed before a U.S. Magistrate Judge pursuant to Rule 11, executed and filed in open court.
(xX) Defendant sworn.
(%) Waiver of Indictment executed and filed in open court.
Court advised defendant of rights, charges, and maximum penalties. Defendant acknowledged he/she
(X%) understood.
(X) Plea agreement reviewed and executed and filed in open court. ( ) No plea agreement
(x ) Court inquired as to voluntariness of plea.
(X) Court inquired as to threats or promises.
(x) Court advised defendant that by pleading guilty the right to a trial by jury is waived.
(Xx) Defendant entered plea of guilty as to Count (s) \
(X) Court accepts plea of guilty as to Count(s) \
(x) Defendant satisfied with services of counsel.
(%) Court inquired Re: Plea Negotiations
a ) Government presented factual basis thru summary by o tate ment of fac ks
(xX) Statement of Facts executed and filed in open court.
(X) Continued for pre-sentence report.
(X%) Court explained that by pleading guilty right to appeal is waived pursuant to Pree aA
(X) Sentencing set: _| before U.S. District Judge
(x) Norfolk (  ) Newport News
Unsigned Sentencing Procedure Order provided to defendant.
Sentencing Procedure Order entered and filed in open court.
Order Accepting Plea of Guilty entered and filed in open court.
Court (gd Finds  (_ ) Withholds finding defendant guilty as charged in Count(s)_
Bond set >, OOD UGecrxres \ (X ) See Special Conditions of Release
Defendant continued on bond. ( )See Additional Conditions of Release
Defendant remanded to custody of Marshal.
Transportation Order entered and filed in open court.

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STANDARD CONDITIONS OF RELEASE

Defendant’s travel is restricted to the State of Virginia.

Defendant is directed to refrain from excessive use of alcohol.

Defendant is directed to refrain from any use or unlawful possession of a narcotic drug and other controlled substances defined in
21 U.S.C. 802 unless prescribed by a licensed medical practitioner.

Defendant is directed to surrender any passport to the U.S. Probation Office.

Defendant is prohibited from obtaining any passport.

Defendant shall report as soon as possible, to the U.S. Probation Office or supervising officer any contact with any law
enforcement personnel, including, but not limited to, any arrest, questioning, or traffic stop.

Defendant is prohibited from possessing a firearm, destructive device, or other dangerous weapon.

Defendant shall submit to method of testing required by the U.S. Probation Office or the supervising officer for determining
whether the defendant is using a prohibited substance. Such methods may be used with random frequency and include urine
testing, the wearing of a sweat patch, a remote alcohol testing system, and or any form of prohibited substance screening or
testing.

Defendant shall participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by
the U.S. Probation Officer or supervising officer.

10) Defendant shall report to the U.S. Probation Office.

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SPECIAL CONDITIONS OF RELEASE

) Travel is restricted to:

 

( ) with travel between the two for purposes of court appearances and meetings with counsel with approval of the U.S.
Probation Office or the Court.
Defendant is directed to maintain residence.

Defendant is directed to seek and maintain verifiable employment as directed by the U.S. Probation Office.
Defendant is directed to report on a regular basis to the U.S. Probation Office.

Defendant is directed to report to the U.S. Probation Office as directed.

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Defendant is directed to undergo substance abuse testing and treatment as directed by the U.S. Probation Office, at the
expense of the defendant.
) Defendant is directed to submit to electronic monitoring with time outs as directed by the U.S. Probation Office, at the

expense of the defendant. AYS t tucd

( » Defendant is directed to refrain from possession a firearm, destructive device, or other dangerous weapon. eueg SceaXxOy) UW

(Xx ) Defendant is directed to avoid all contact with alleged victims and/or potential witnesses or eacorepaates POSSESS | ov).

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) Defendant is prohibited from committing any offense in violation of federal, state or local law.

) Defendant is directed to cooperate with their Court-appointed counsel in the preparation of their defense.

( X) Defendant is directed to provide any requested financial information as directed by the Probation Office.

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) Defendant is prohibited from opening any new lines of credit without permission of the Probation Office.

) Court directs that defendant shall be released to the custody of:

 

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COM Provider.

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(X) NY travel to Cravlesten, S July 37S * 6 Yo

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